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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  TEMUJIN KENSU, INDIVIDUALLY,
  AND ON BEHALF OF ALL         Case No. 2:18-cv-11086-SFC-PTM
  OTHERS SIMILARLY SITUATED,
                               Hon. Sean F. Cox
           Plaintiff,          Mag. Judge Patricia T. Morris

        v.

  JPAY INC.

               Defendant.


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                  EXHIBITS IN SUPPORT OF DEFENDANT’S
                 OPPOSITION TO PLAINTIFF’S MOTION FOR
             CORRECTIVE ACTION AND TO COMPEL ARBITRATION
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 Exhibit A: Jpay 2019 Terms of Use

 Exhibit B: Letter from K. Altman dated August 26, 2019

 Exhibit C: Letter from K. Altman dated September 20, 2019

 Exhibit D: Letter from E. Herrington dated October 31, 2019

 Exhibit E:   Email from K. Altman dated October 31, 2019

 Exhibit F:   Letter from K. Altman dated November 4, 2019

 Exhibit G    Letter from K. Altman dated December 2, 2019

 Exhibit H: Unpublished Decisions
